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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )
                                                )                    8:07CR392
       vs.                                      )
                                                )                     ORDER
LAURO MARQUEZ,                                  )
                                                )
                      Defendant.                )

        The defendant has filed a Motion to Continue Trial [66] to allow the parties to "possibly
engage in plea negotiations." The trial of this matter has been continued or rescheduled on
numerous occasions, and present counsel was already granted a two-week extension of the
pretrial motion deadline, which expired on June 30, 2008. In the interests of justice, the court
will grant a final continuance to Tuesday, August 5, 2008.

       IT IS ORDERED that defendant's Motion to Continue Trial [66] is granted, as follows:

       1. The trial of this matter is continued to Tuesday, August 5, 2008 at 9:00 a.m. in
Courtroom No. 2, Third Floor, Roman L. Hruska United States Courthouse, 111 South 18th
Plaza, Omaha, Nebraska. This is a final continuance. Judge Smith Camp will meet with
counsel in chambers at 8:30 a.m. on the first day of trial. The provisions of Judge Smith
Camp's order regarding trial preparation [65] remain in effect.

         2. In accordance with 18 U.S.C. § 3161(h)(8)(A), the court finds that the ends of
justice will be served by granting a continuance and outweigh the interests of the public and the
defendant in a speedy trial. Any additional time arising as a result of the granting of this
motion, that is, the time between July 22, 2008 and August 5, 2008, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act
because counsel require additional time to adequately prepare the case, taking into
consideration due diligence of counsel and the novelty and complexity of this case. The failure
to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) &
(B)(iv).

      3. Defendant shall file an affidavit or declaration regarding speedy trial, as required
by NECrimR 12.1 and/or 12.3, no later than July 18, 2008.

       DATED July 17, 2008.

                                            BY THE COURT:

                                            s/ F.A. Gossett
                                            United States Magistrate Judge
